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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


   SKYCAM, LLC, a Delaware limited liability        )
   company,                                         )
                                                    )
                         Plaintiff,                 )
                                                    )
   v.                                               )
                                                    )         Case No. 09-CV-294-GKF-FHM
   PATRICK J. BENNETT, an individual, and           )
   ACTIONCAM, LLC, an Oklahoma Limited              )
   Liability Company,                               )
                                                    )
                         Defendants.                )



   SKYCAM’S MOTION FOR ORDER REQUIRING DEFENDANT PATRICK J. BENNETT
      TO APPEAR AND ANSWER CONCERNING PROPERTY AND ASSETS AND FOR
    INJUNCTION FORBIDDING TRANSFER OR OTHER DISPOSITION OF PROPERTY


          Plaintiff, Skycam, LLC (“Skycam”), pursuant to Fed. R. Civ. P. 69(a) and 12 Okla. Stat. §

   842, respectfully moves this Court for an Order requiring Defendant, Patrick J. Bennett (“Bennett”),

   to appear on a specific date and answer questions concerning his property and assets, and for an

   order enjoining Bennett from alienating, concealing, or encumbering any of his non-exempt

   property pending the hearing and further order of the Court, pursuant to 12 Okla. Stat. § 842. In

   support of this Motion, Skycam states:

          1.      Skycam is a judgment creditor, having obtained a judgment in the amount of

   $100,000, individually, and $419,000, jointly and severally with Defendant Actioncam, LLC

   (“Actioncam”), for a total judgment of $519,000. (See Dkt. 396.)

          2.      On September 30, 2013, costs were taxed against Bennett and Actioncam to be paid

   to Skycam in the amount of $150,000.00. (See Dkt. 403.)
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            3.      Pending a hearing on assets, there is a risk that Bennett will attempt to transfer,

   encumber, alienate, or conceal property in an attempt to place it beyond the reach of creditors, and

   the Court should enter an Order enjoining Bennett from doing so.

            THEREFORE, Skycam requests that:

            1.      The Court enter an Order directing Defendant, Patrick J. Bennett, to appear and

   answer concerning his property and assets on a day to be fixed by the Court;

            2.      That Bennett be further ordered to bring with him at the hearing all books, records,

   financial statements and other items in order that a full and complete hearing on assets can be

   conducted; and

            3.      The Court enjoin Bennett from transferring, alienating and/or concealing or

   encumbering any non-exempt property pending the hearing on assets and until further Order of the

   Court.

            Respectfully submitted this 18th day of October, 2013.

                                                  Respectfully submitted,


                                                  /s/Charles Greenough
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                                                  Charles Greenough, OBA #12311
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                                                  ATTORNEYS FOR SKYCAM LLC




                                                     2
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on October 18, 2013, I electronically transmitted the foregoing
   document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
   Electronic Filing to the following ECF registrants:

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                                             /s/Charles Greenough
                                             Charles Greenough




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